 USCA11 Case: 23-13669           Document: 20-1         Date Filed: 06/13/2024        Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                          June 13, 2024

Carlos Johnson
FCI Fairton - Inmate Legal Mail
PO BOX 420
FAIRTON, NJ 08320

Appeal Number: 23-13669-CC
Case Style: USA v. Carlos Johnson
District Court Docket No: 1:11-cr-00012-WLS-TQL-1

                            NO ACTION / DEFICIENCY NOTICE


Notice of receipt: Appellant's Brief received on 05/31/2024 as to Appellant Carlos Johnson. NO
ACTION WILL BE TAKEN because a motion is required. Appellant's brief was previously
filed 05/06/2024.

No deadlines will be extended as a result of your deficient filing.

                                      ACTION REQUIRED


For motions for reconsideration or petitions for rehearing that are not permitted, no action is
required or permitted. Your filing will not be considered.

For mistaken filings, to have your document considered, you must file the document in the
correct court.

For all other deficiencies, to have your document considered, you must refile the entire
document after all the deficiencies identified above have been corrected and you must include
any required items identified above along with the refiled document. No action will be taken if
you only provide the missing items without refiling your entire document.

Please note that any filing submitted out of time must be accompanied by an appropriate
motion, i.e., a motion to file out of time, a motion to reinstate if the case has been dismissed,
and/or a motion to recall the mandate if the mandate has issued.
USCA11 Case: 23-13669       Document: 20-1   Date Filed: 06/13/2024    Page: 2 of 2



Clerk's Office Phone Numbers
General Information: 404-335-6100   Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135   Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125      Cases Set for Oral Argument: 404-335-6141



                                                              Notice No Action Taken
